
CAVANAGH, J.
odissenting). I believe that the city of Saginaw’s ordinance prohibiting the discharge of firearms and other weapons within city limits is preempted because there is no exception for the taking of game. Pursuant to MCL 324.40113a(2), the Department of Natural Resources (DNR) has exclusive authority to regulate the taking of game. Allowing the city of Saginaw to prohibit the discharge of firearms and other weapons without an exception for the taking of game and without seeking approval from the DNR to close the city of Saginaw to the taking of game usurps the exclusive authority of the DNR to regulate the taking of game throughout the state and makes it impossible for the DNR to fulfill its statutorily mandated duties.
